     Law Offices of Travis Gagnier, Inc., P.S.                   Honorable Christopher M. Alston
 1   Attorney at Law
     33507 Ninth Avenue South, Bldg. F
 2   P.O. Box 3949
     Federal Way, WA 98063-3949
 3   253-941-0234; gagnierecf@bestbk.com

 4

 5                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF WASHINGTON
 6

 7   HOLMBERG, Timothy Scott,
     Debtor.
 8
                                                        Number 22-11028
     HOLMBERG, Timothy Scott,
 9
                                                        Adversary Number: 23-01015
     Plaintiff,
10
     v.                                                 NOTICE OF DISMISSAL
11
     UNITED STATES OF AMERICA
12   ACTING THOUGH THE U.S.
     DEPARTMENT OF EDUCATION
13
     Defendant.
14

15           The above-referenced Plaintiff/Debtor, by and through his attorney, the Law Offices of
16
     Travis Gagnier, Inc., P.S., hereby dismisses the above-entitled adversary proceeding pursuant to
17
     FRBP 7041.
18
                                          Dated this 28th day of April 2023.
19
                                          Law Offices of Travis Gagnier, Inc., P.S.
20                                        Attorneys for Plaintiff
21                                        /s/ Travis A. Gagnier_
                                          Travis A. Gagnier, WSBA #26379
22
                                          Gregory Jalbert, WSBA #9480
                                          Of Counsel
23

24

25

26   NOTICE OF DISMISSAL - 1                                    Law Offices of Travis Gagnier, Inc., P.S
                                                                   33507 Ninth Avenue South, Bldg. F

27                                                                          P.O. Box 3949
                                                                    Federal Way, WA 98063-3949

28     Case 23-01015-CMA          Doc 9   Filed 04/28/23
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